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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §            A-08-CR-337(1) LY
                                                 §
GEORGE LEWIS ESCAMILLA, SR.                      §


                            REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE LEE YEAKEL
       UNITED STATES DISTRICT JUDGE

       The Magistrate Court submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant's felony guilty plea and for his allocution pursuant

to Federal Rule of Criminal Procedure 11.

       On March 3, 2009, the defendant and counsel appeared before the Magistrate Court. The

undersigned addressed the defendant personally in open court, informed him of the

admonishments under Rule 11 of the Federal Rules of Criminal Procedure, and determined that

he understood those admonishments.

       Pursuant to a plea agreement, the defendant plead guilty to Count Seventeen of the

indictment charging him with possession with intent to distribute more than 5 kilograms of cocaine

in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A). (Count Seventeen).

       The Magistrate Judge finds the following:

1.     The defendant, with the advice of his attorney, consented to enter this guilty plea before the

       Magistrate Judge, subject to final approval and sentencing by the District Judge;

2.     The defendant fully understands the nature of the charge against him and possible

       penalties;

3.     The defendant understands his constitutional and statutory rights, understands that his
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       constitutional and statutory rights can be waived, and understands the meaning and effect

       of the waiver of his constitutional and statutory rights;

4.     The Government agrees to move to dismiss the other charges remaining against the

       defendant in this case after sentencing.

5.     The defendant waived his right to appeal his sentence on any ground.

6.     The defendant agreed not to contest his sentence or the manner in which it was determined

       in any post-conviction proceeding, including, but not limited to, a proceeding under 28

       U.S.C. § 2255.

7.     The defendant did not waive the right to challenge his sentence based upon a good faith

       allegation that it was the result of ineffective assistance of counsel or prosecutorial

       misconduct;

8.     The defendant's plea was made freely and voluntarily;

9.     The defendant is competent to enter this plea of guilty; and

10.    There is a factual basis for this plea.

                                      RECOMMENDATION

       The Magistrate Court RECOMMENDS the District Court accept the defendant's guilty plea

and, after reviewing the presentence investigation report, enter a Final Judgment of guilt against

him.

                                            WARNING

       The parties may file objections to this Report and Recommendation.           A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm'n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party's failure to file written objections to the proposed findings and recommendations



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contained within this Report within ten (10) days after being served with a copy of the Report shall

bar that party from de novo review by the District Court of the proposed findings and

recommendations and, except upon grounds of plain error, shall bar the party from appellate review

of proposed factual findings and legal conclusions accepted by the District Court to which no

objections were filed. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106

S. Ct. 466, 472-74 (1985); Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415, 1428-29 (5th Cir.

1996) (en banc).

       To the extent that a party has not been served by the Clerk with this Report &

Recommendation electronically, pursuant to the CM/ECF procedures of this District, the Clerk is

ORDERED to mail such party a copy of this Report and Recommendation by certified mail, return

receipt requested.

       SIGNED this 3rd day of March, 2009.




                                            _____________________________________

                                            ROBERT PITMAN
                                            UNITED STATES MAGISTRATE JUDGE




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